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10
     [Additional counsel listed on signature page]
11
                                    UNITED STATES DISTRICT COURT
12
                                           DISTRICT OF NEVADA
13
     Cung Le, Nathan Quarry, Jon Fitch, Brandon          Case No.: 2:15-cv-01045-RFB-(PAL)
14   Vera, Luis Javier Vazquez, and Kyle
     Kingsbury on behalf of themselves and all           PLAINTIFFS’ MOTION FOR LEAVE TO
15   others similarly situated,                          FILE DOCUMENTS UNDER SEAL

16                  Plaintiffs,

17          vs.

18   Zuffa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
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                    Defendant.
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31                                                                        Case No.: 2:15-cv-01045 RFB-(PAL)
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 1          Pursuant to Rules 5.2 and 26(c) of the Federal Rules of Civil Procedure, Local Rule 10-5(a), and

 2   Section 14.3 of the Revised Stipulation and Protective Order (the “Protective Order”) issued by this

 3   Court on February 10, 2016 (ECF No. 217 at 15), Plaintiffs Cung Le, Nathan Quarry, Jon Fitch,

 4   Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury on behalf of themselves and all others similarly

 5   situated (collectively, “Plaintiffs”) hereby move this Court for leave to lodge certain documents under

 6   seal related to their Opposition to Defendant Zuffa, LLC’s Motion to Seal Portions of Plaintiffs’ Reply

 7   in Support of Plaintiffs’ Motion for Class Certification and Related Materials (ECF No 557) (the

 8   “Opposition”).

 9          Under Section 14.3 of the Protective Order, documents designated Confidential or Highly
10   Confidential – Attorneys’ Eyes Only “shall be provisionally lodged under seal with the Court, and

11   redacted papers shall be publicly filed. Within 5 days of the materials being lodged with the Court, the

12   Party claiming protection shall file motion to seal setting forth the bases for sealing and proper authority

13   under Kamakana v. City & County of Honolulu, 447 F.3d 1172 (9th Cir. 2006), or some other applicable

14   authority.”

15          Plaintiffs seek leave to lodge under seal portions of the Opposition that relate to materials Zuffa

16   has designated Confidential or Highly Confidential – Attorneys’ Eyes Only under the Protective Order.

17          Plaintiffs seek leave to lodge under seal portions of Exhibit 1 to the Declaration of Kevin E.

18   Rayhill (the “Rayhill Declaration”) that relate to materials Zuffa has designated Confidential or Highly

19   Confidential – Attorneys’ Eyes Only under the Protective Order.

20          Plaintiffs seek leave to lodge under seal Exhibits 18 and 19 to the Rayhill Declaration, which were
21   designated Confidential by Zuffa pursuant to the Protective Order.

22          Plaintiffs have filed all of these documents under seal. Plaintiffs have publicly filed placeholders

23   for redacted versions of these documents with the Court, and will serve un-redacted versions of these

24   documents on Defendant.

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 1   Dated: June 19, 2018                      Respectfully Submitted,
                                               JOSEPH SAVERI LAW FIRM, INC.
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11                                             Individual and Representative Plaintiffs Cung Le, Nathan
                                               Quarry, Jon Fitch, Luis Javier Vazquez, Brandon Vera,
12                                             and Kyle Kingsbury
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27                                       and Kyle Kingsbury

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 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on this 18th day of June, 2018 true and correct copies of the following

 3   documents were served via the District of Nevada’s ECF system to all counsel of record who have

 4   enrolled in the ECF system:

 5      •   PLAINTIFFS’ MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL;
 6      •   PROPOSED ORDER.
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 8

 9    By:
                                                    /s/ Kevin E. Rayhill
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                        PLAINTIFFS’ MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
